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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION

DISH NETWORK LLC, et al.                                                   PLAINTIFFS

v.                         CASE NO. 4:19-CV-00149 BSM

HICKS, et al.                                                             DEFENDANTS

                                     JUDGMENT

      Consistent with the order entered today, this case is dismissed without prejudice.

      IT IS SO ORDERED this 17th day of September 2019.


                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE
